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                                                                         United States District Court
                                                                           Southern District of Texas

                                                                              ENTERED
                                                                              June 28, 2021
                   UNITED STATES DISTRICT COURT
                                                                           Nathan Ochsner, Clerk
                    SOUTHERN DISTRICT OF TEXAS
                        GALVESTON DIVISION

WILMINGTON SAVINGS FUND                    §
SOCIETY, FSB, AS TRUSTEE                   §
OF STANWICH MORTGAGE                       §
LOAN TRUST A,                              §
                                           §
          Plaintiff,                       §
VS.                                        §   3:20-CV-181
                                           §
RUBY YARBROUGH,                            §
                                           §
          Defendant.                       §

                          ORDER STAYING CASE

       On January 6, 2021, the court entered an order granting the plaintiff’s motion

for entry of default and for default judgment. Dkt. 12. One month later, the clerk of

the court issued a writ of execution. In early March, the United States Marshal

attempted to serve Yarbrough at the property. Dkt. 13. The Marshal served

Yarbrough’s daughter, Yolanda Yarbrough, who informed the Marshal that

Yarbrough had passed away roughly a week earlier. The United States Marshal filed

the return of service that same day. Id.

       On March 10, the court stayed the writ of execution and ordered the plaintiff

to explain whether this matter must now be adjudicated in a state probate court. Dkt.

14. The plaintiff briefed the court and answered that a probate court should


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adjudicate this case. Dkt. 16. The plaintiff thus asks that the court stay these

proceedings pending the outcome in the probate court. The court agrees, stays this

case, and orders it administratively closed. The plaintiff may move to reinstate and

reopen the case once the state court proceedings are complete.

      Signed on Galveston Island on the 28th day of June, 2021.


                                           Jeffrey Vincent Brown
                                        United States District Judge




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